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       12 Attorneys for Plaintiff

       13 [Additional counsel appear on signature page.]

       14                                   UNITED STATES DISTRICT COURT
       15                                 NORTHERN DISTRICT OF CALIFORNIA
       16                                        SAN FRANCISCO DIVISION
       17 FAITH BAUTISTA, Individually and on                   )   Case No. 3:15-cv-05557-RS
          Behalf of All Others Similarly Situated,              )
       18                                                       )   CLASS ACTION
                                        Plaintiff,              )
       19                                                       )   STIPULATION AND [PROPOSED]
                 vs.                                            )   ORDER REGARDING PLAINTIFF’S
       20                                                       )   DEADLINE TO AMEND HER
          VALERO ENERGY CORPORATION, et al.,                    )   COMPLAINT
       21                                                       )
                                        Defendants.             )
       22                                                       )
       23
                       Plaintiff Faith Bautista (“Plaintiff”) is required to respond to Defendants Valero
       24
                Marketing and Supply Company’s (“Valero”) Motion to Dismiss Plaintiff’s Complaint for
       25
                Failure to State a Claim (Doc. 31) by March 11, 2016, or to file an amended complaint, pursuant
       26
                to Rule 15(a)(1)(B), Federal Rules of Civil Procedure, by March 18, 2016. Plaintiff intends to
       27

       28

1126799_1           STIPULATION RE PLTF’S DEADLINE TO AMEND CPT. - 3:15-cv-05557-RS                              -1-
            1 file an amended complaint. Valero has agreed, and Plaintiff and Valero hereby stipulate, to

            2 extend the deadline for Plaintiff to file an amended complaint to April 8, 2016.

            3          Plaintiff and Valero further agree that Valero shall have until April 29, 2016 to answer or

            4 otherwise respond to Plaintiff’s amended complaint.

            5          Dated: March 10, 2016

            6                                                       ROBBINS GELLER RUDMAN
                                                                      & DOWD LLP
            7                                                       STUART A. DAVIDSON
                                                                    MARK J. DEARMAN
            8                                                       CHRISTOPHER C. MARTINS

            9
                                                                    By    /s/ Stuart A. Davidson
       10                                                             Attorneys for Plaintiff and the Proposed
                                                                      Class
       11
                       Dated: March 10, 2016
       12                                                           GLYNN & FINLEY, LLP
                                                                    ADAM FRIEDENBERG
       13                                                           ROBERT C. PHELPS
                                                                    LAUREN E. WOOD
       14
                                                                    By    /s/ Adam Friedenberg
       15                                                             Attorneys for Defendant Valero
                                                                      Marketing and Supply Company
       16

       17
                                                       ATTESTATION
       18
                       I, Stuart A. Davidson, hereby attest, pursuant to N.D. Cal. Local Rule 5-1(i)(3), that
       19
                concurrence to the filing of this document has been obtained from each signatory.
       20

       21
                                                              By:      /s/ Stuart A. Davidson
       22                                                                Stuart A. Davidson
       23

       24

       25 PURSUANT TO STIPULATION, IT IS SO ORDERED.

       26 DATED: ________________________                 _____________________________________
                                                               United States District Judge
       27

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1126799_1           STIPULATION RE PLTF’S DEADLINE TO AMEND CPT. - 3:15-cv-05557-RS                              -2-
